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                           Sn t][ie ^ntteb States! IBtsitrict Court
                           for tlje ^outfiem IBtsitrict of (ileorsta
                                     WapcvosSg IBtbtsiton
              PATRICIA NELSON,

                       Plaintiff,

              V.

                                                                        CV   517-148
              COMENITY,     LLC,


                       Defendant


                                                          ORDER


                   Plaintiff           has    notified     the    Court      that     she     voluntarily

              dismisses without prejudice her claims against Defendant in this

              action due to        a    governing arbitration provision.                     Dkt.    No.    5.

              The stipulation of dismissal complies with Federal Rule of Civil

              Procedure     41(a)(1)(A)(i).               Accordingly,          it   is     ORDERED       that

              Plaintiff s     claims           against     Defendant         are     in   all       respects

              dismissed     without          prejudice.      Each       party      will   bear      its    own

              costs.     The Clerk is DIRECTED to close this case.


                   SO ORDERED, this                day of December, 201/.




                                                                 HON.    LrSA-CODBEY WOOD,          JUDGE
                                                                 UNOTEiy STATES       DISTRICT      COURT
                                                                 SOukiERN DISTRICT OF GEORGIA




AO 72A
(Rev. 8/82)
